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                                       of 4




                         EXHIBIT G
Case 4:17-cv-00454-GKF-JFJ                    Document 218-7 Filed in USDC ND/OK on 11/16/18                                     Page 2
                                                        of 4

    From:                Gill, Robert C.
    To:                  Dalton, Rebecca; Flax, Sherry H.; Schaufelberger, Thomas S.; "Jonathan Jacobs"; "Duane Zobrist";
                         "jhodges@hodgeslc.com"; Darling, Jeremy B.; Platt, Henry A.; Antonelli, Matthew
    Cc:                  Sawyer, Michael; Rubman, Gary; Swanson, Peter; dluthey@gablelaw.com; Roman, Neil
    Subject:             RE: VGT v. CHG - Dave Marsh"s Documents
    Date:                Friday, March 23, 2018 3:56:04 PM


    Rebecca,

    This will confirm that CHG will not take the position that Mr. Marsh has violated his confidentiality
    obligations to CHG by producing documents in response to CHG‘s requests for the production of
    documents, or by giving testimony in response to our request for his deposition or at trial. This
    presumes that we receive copies of anything he produces from when he was a CHG consultant.

    Bob



    From: Dalton, Rebecca [mailto:RDalton@cov.com]
    Sent: Thursday, March 22, 2018 12:33 PM
    To: Gill, Robert C.; Flax, Sherry H.; Schaufelberger, Thomas S.; 'Jonathan Jacobs'; 'Duane Zobrist';
    'jhodges@hodgeslc.com'; Darling, Jeremy B.; Platt, Henry A.; Antonelli, Matthew
    Cc: Sawyer, Michael; Rubman, Gary; Swanson, Peter; dluthey@gablelaw.com; Roman, Neil
    Subject: RE: VGT v. CHG - Dave Marsh's Documents

    Bob,

    Thank you for agreeing with our proposed approach to collecting Dave Marsh's communications
    with CHG. For the avoidance of doubt, can you please confirm that CHG will not take the position
    that, by providing these materials to us or participating in this litigation, Mr. Marsh has violated any
    confidentiality obligations that may exist in his independent contractor agreement with CHG?

    Best,
    Rebecca


    Rebecca Dalton

    Covington & Burling LLP
    One CityCenter, 850 Tenth Street, NW
    Washington, DC 20001-4956
    T +1 202 662 5189 | rdalton@cov.com
    www.cov.com




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    From: Gill, Robert C. [mailto:Robert.Gill@saul.com]
    Sent: Tuesday, March 13, 2018 9:42 AM
Case 4:17-cv-00454-GKF-JFJ                    Document 218-7 Filed in USDC ND/OK on 11/16/18                                     Page 3
                                                        of 4

    To: Dalton, Rebecca <RDalton@cov.com>; Flax, Sherry H. <Sherry.Flax@saul.com>; Schaufelberger,
    Thomas S. <tschauf@saul.com>; 'Jonathan Jacobs' <jjacobs@zoblaw.com>; 'Duane Zobrist'
    <dzobrist@zoblaw.com>; 'jhodges@hodgeslc.com' <jhodges@hodgeslc.com>; Darling, Jeremy B.
    <Jeremy.Darling@saul.com>; Platt, Henry A. <Henry.Platt@saul.com>; Antonelli, Matthew
    <matt.antonelli@saul.com>
    Cc: Sawyer, Michael <msawyer@cov.com>; Rubman, Gary <grubman@cov.com>; Swanson, Peter
    <pswanson@cov.com>; dluthey@gablelaw.com; Roman, Neil <nroman@cov.com>
    Subject: RE: VGT v. CHG - Dave Marsh's Documents


    Agreed.

    Bob



    From: Dalton, Rebecca [mailto:RDalton@cov.com]
    Sent: Tuesday, March 13, 2018 9:36 AM
    To: Gill, Robert C.; Flax, Sherry H.; Schaufelberger, Thomas S.; 'Jonathan Jacobs'; 'Duane Zobrist';
    'jhodges@hodgeslc.com'; Darling, Jeremy B.; Platt, Henry A.; Antonelli, Matthew
    Cc: Sawyer, Michael; Rubman, Gary; Swanson, Peter; dluthey@gablelaw.com; Roman, Neil
    Subject: RE: VGT v. CHG - Dave Marsh's Documents

    Counsel,

    Following up on the below, unless we receive a response to the contrary from you by the end of
    today, we will assume that your non-response means you do not have any objection to the proposed
    approach.

    Best,
    Rebecca


    Rebecca Dalton

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    www.cov.com




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    From: Dalton, Rebecca
    Sent: Monday, March 05, 2018 2:13 PM
    To: Gill, Robert C. <Robert.Gill@saul.com>; Flax, Sherry H. <Sherry.Flax@saul.com>; Schaufelberger,
    Thomas S. <tschauf@saul.com>; 'Jonathan Jacobs' <jjacobs@zoblaw.com>; 'Duane Zobrist'
Case 4:17-cv-00454-GKF-JFJ                         Document 218-7 Filed in USDC ND/OK on 11/16/18                                              Page 4
                                                             of 4

    <dzobrist@zoblaw.com>; 'jhodges@hodgeslc.com' <jhodges@hodgeslc.com>; Darling, Jeremy B.
    <Jeremy.Darling@saul.com>; Platt, Henry A. <Henry.Platt@saul.com>; matt.antonelli@saul.com
    Cc: Sawyer, Michael <msawyer@cov.com>; Rubman, Gary <grubman@cov.com>; Swanson, Peter
    <pswanson@cov.com>; dluthey@gablelaw.com; Roman, Neil (nroman@cov.com)
    <nroman@cov.com>
    Subject: VGT v. CHG - Dave Marsh's Documents

    Counsel,

    We write to request your consent to collect and produce communications between Dave Marsh and
    CHG from the time period when Dave Marsh worked as an independent contractor for CHG. We
    would provisionally designate these communications as Highly Confidential with the understanding
    that you would then re-designate them as appropriate.

    Please let us know if you agree to this approach.

    Best,
    Rebecca


    Rebecca Dalton

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    One CityCenter, 850 Tenth Street, NW
    Washington, DC 20001-4956
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    www.cov.com




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    "Saul Ewing Arnstein & Lehr LLP (saul.com)" has made the following annotations:
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    +~~~~~~~~~~~~~~~~~~~~~~~~+
